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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


NANCY E. LEWEN                                )
                                              )
                       Plaintiff,             )
                                              )
       v.                                     )              Civil Action No. 10-1273
                                              )
THE HONORABLE SANDRA                          )
EDWARDS STEPHENS, individually                )
and in her official capacity as Judge of      )
the Fifth Judicial Circuit Court, DAVID       )
ELLSPERMANN, Clerk of Court,                  )
STATE OF FLORIDA, Department of               )
Revenue – Central Child Support               )
Disbursement Unit, GARY M.                    )
FINNEGAN and ANNE RADUNS, PA                  )
                                              )
                       Defendants.            )


                                             ORDER


        AND NOW, this 17th day of March, 2011, in accordance with this Courts Order dated

January 27, 2011, plaintiff has failed to show cause why the above captioned complaint should

not be dismissed for lack of subject matter jurisdiction.

       IT IS HEREBY ORDERED that the above-captioned case is DISMISSED for failure to

prosecute. The clerk shall mark this case closed.




                                                      /s/ JOY FLOWERS CONTI
                                                      Joy Flowers Conti
                                                      United States District Judge
